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                     EXHIBIT A
       Plaintiffs' First Amended Complaint
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                       UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

RETHINK35, ET AL.,

Plaintiffs,                                                 Civ. Case No. 1:24-CV-00092



v.

TEXAS DEPARTMENT OF
TRANSPORTATION (TXDOT),

Defendant.



                      PLAINTIFFS’ FIRST AMENDED COMPLAINT
                     FOR DECLARATORY AND INJUNCTIVE RELIEF

                                         INTRODUCTION
              1.    This action challenges the failure of the Texas Department of
     Transportation (“TxDOT”), acting under delegated authority from the United States
     Department of Transportation (“USDOT”) and the Federal Highway Administration
     (“FHWA”), to comply with federal law, in its approval of the I-35 Capital Express
     Central Project from US 290 East to US 290 West/SH71 (“Project”), which will
     reconstruct and expand a section of Interstate Highway 35 (“I-35”) that runs through
     downtown Austin. Defendant violated the National Environmental Policy Act (“NEPA”)
     by failing to properly consider the environmental consequences and environmental
     injustice impacts of the Project.
              2.    The widening of I-35 will reinforce and exacerbate a century of racial
     inequity. In 1928, the City of Austin approved a comprehensive plan (the “1928 Plan”)
     used to intentionally discriminate against communities of color, which established a
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“negro district,” segregating and isolating communities of color to East Austin.1 The
“Negro District” included historically Black neighborhoods, like Chestnut and
Rosewood, whose populations remain predominantly Black today and are within the
airshed of I-35.
        3.      Following the City of Austin’s establishment of the Negro District,
generations of segregationist practices, such as “redlining,” followed intentionally
excluding Black families from white neighborhoods. When these practices were declared
unconstitutional, segregationists used the nation’s interstate system to install physical
barriers to enforce the segregation of Black, Latino, and other communities of color.
        4.      For over sixty years, I-35 has cut a line through Austin, with
disproportionately negative impacts on marginalized communities in communities along
I-35, especially East Austin—the vast majority of which are Black and Latino. Decades
of discrimination, caused and reinforced by the construction of I-35, have brought
widespread social, health, and economic disparities to these communities. These
communities (predominantly Black and Latino neighborhoods) have suffered from health
disparities associated with long-term exposure to car emissions and harmful pollutants by
living in the neighborhoods along I-35 and are more likely to experience chronic health
issues, including respiratory issues, such as asthma.
        5.      Comprehensive proposals for alternative project designs were submitted
by community members. Defendant violated National Environmental Policy Act
(“NEPA”) by failing to rigorously explore and objectively evaluate these reasonable
alternatives.
        6.      Defendant further failed to comply with NEPA by neglecting to take a
hard look at environmental impacts associated with human health, air quality, and water
resources; by failing to allow public comment on modifications made to the adopted



1
 Austin, Tex. Resolution Adopting the “A City Plan for Austin, Texas” (“1928 Plan”)
Reflected in the Minutes of the Austin City Council Meeting Occurring on March 22,
1928, available at https://services.austintexas.gov/edims/document.cfm?id=89795.

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Project, despite expanding the Project area by 1.2 miles; and by failing to properly
engage in interagency collaboration.
       7.      The Project will directly impact and convert public parkland and other
public outdoor recreation spaces throughout the project area, including critical species
habitat at the Colorado River Park Wildlife Sanctuary and other public parkland along the
Colorado River and Lady Bird Lake. Such impacts include disruption and serious risk of
contamination from lead dust and other particles of a historic pecan grove and
community gardens planted on public land that provide food sources to local residents.

                                     JURISDICTION
       8.      This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331
(federal question jurisdiction); 5 U.S.C. § 702 (Administrative Procedure Act); and may
issue a declaratory judgment and further relief pursuant to 28 U.S.C. § 2202 (declaratory
and injunctive relief).
       9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e) because it is
the location of the regional headquarters of the Defendant agency TxDOT, which
approved the Project, and it is the location of the Project.
       10.     Plaintiffs have no adequate remedy at law. Unless this Court grants the
requested relief, the Defendant’s actions will cause irreparable harm to the environment,
to Plaintiffs, and to the public in violation of federal law and the public interest. No
monetary damages or other legal remedy could adequately compensate Plaintiffs or the
public for these harms. Plaintiffs are persons adversely affected or aggrieved by federal
agency action within the meaning of section 702 of the Administrative Procedure Act.

                                         PARTIES

       A.      PLAINTIFFS
       11.     Rethink35, Save Our Springs Alliance, Austin Justice Coalition, People
Organized in Defense of Earth and Her Resources (PODER), Parents’ Climate
Community, Downtown Austin Neighborhood Association (DANA), East Town Lake
Citizens NA, Southeast Austin Neighbors and Residents Organized for Environmental


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Justice (SANAR), Hancock Neighborhood Association, Mueller Neighborhood
Association, Friends of Austin Neighborhoods (FAN), Friends of Hyde Park, Sunrise
Movement Austin, Environment Texas, TexPIRG, and Celia Israel, an individual,
(collectively, the “Plaintiffs”) represent a broad—somewhat unique—coalition of
plaintiffs seeking relief under this Complaint. Plaintiffs bring this action collectively on
behalf of themselves and their respective members, donors, supporters, and interests,
which include individuals, organizations, and businesses who will suffer irreparable harm
by the expansion of I-35 and the failure of TxDOT to adequately complete its delegated
responsibility of environmental review in compliance with the National Environmental
Policy Act in its selection of the Project.
       12.      Plaintiffs’ members include many who live, work, attend school, and
worship in the vicinity of the proposed Project or use the Project area for recreational,
professional, or aesthetic use, and who will suffer injuries from the construction and
widening of I-35. Also, Plaintiffs and their members suffer informational and procedural
injuries from the failure of the Defendant to comply with NEPA and the failure to
generate the required information on the environmental effects of the Project.
       13.      Numerous members of these organizations live, work, attend school,
worship, or recreate in the area. The expansion and widening of I-35 will subject these
people to increased air pollution, will displace residences, places of business, recreation
areas, and services that residents and visitors depend upon, use, and enjoy, and will
diminish the aesthetic, recreational, and professional use and enjoyment of community
spaces within East Austin, the Colorado River/Lady Bird Lake, and local parks, such as
Waller Beach.
       14.      Plaintiff Rethink35 is a volunteer-led, nonprofit organization advocating
for more humane, equitable, economically, and environmentally sustainable, and
effective mobility and land use in the Austin area and opposes the expansion of I-35
under the I-35 Capital Express Central Project. Its donors and supporters include




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businesses, residents, and other organizations of residents who live within the I-35
corridor.
       15.     Plaintiff Austin Justice Coalition is a Black-led nonprofit organization that
serves Austin residents who are historically and systemically impacted by gentrification,
segregation, over policing, a lack of education and employment opportunities, and other
institutional forms of racism in Austin. Austin Justice Coalition advocates for, elevates,
and celebrates Black culture, while mobilizing people to boldly fight racist systems.
       16.     Plaintiff Celia Israel is an individual and community leader who lives in
South Austin, at 7107 Tawny Cir. Austin, TX 78745. She is a frequent commuter on I-35
and will be injured by construction noise, delays, air quality changes, and other
environmental injuries related to the construction and expansion of the highway. She
frequently enjoys visiting the parks and recreational spaces in the Project area, including
Waller Beach and Fiesta Gardens.
       17.     Plaintiff Downtown Austin Neighborhood Association (“DANA”) is a
neighborhood association officially registered with the City of Ausitn that includes 2,500
households who will be directly impacted by the environmental consequences from the
expansion of I-35. DANA is located in Downtown Austin, with boundaries extending
from Lamar Blvd. (west) to I-35 (east) and from Martin Luther King, Jr. Blvd. (north) to
Lady Bird Lake (south). Its members frequent parks, historical, and civic spaces in the
Project area, including Waller Beach.
       18.     Plaintiff East Town Lake Citizens Neighborhood Association (“East Town
Lake Citizens NA”) is a neighborhood association officially registered with the City of
Austin that includes 5,000 households who will be directly impacted by the
environmental consequences from the expansion of I-35. East Town Lake Citizens NA is
located in East Austin, with boundaries extending from I-35 (west) to Longhorn Bridge
(east) and from East Cesar Chavez St. (north) to Lady Bird Lake (south). The boundaries
of the neighborhood association include Edward Rendon Sr. Park at Festival Beach, and
its members include families and individuals who frequently use and enjoy the park and



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who are otherwise visitors, growers, or patrons at the Festival Beach Food Forest and the
Festival Beach Community Garden. Its members own or live in houses, operate
businesses, or otherwise use community services within the project area for I-35 Capital
Express Central. The East Town Lake Citizens NA includes areas that have been
historically—and continue to be—critical parts of Austin’s Latino and Black
communities.
       19.     Plaintiff Environment Texas is an environmental organization that works
for clean air, clean water, clean energy, wildlife and open spaces, and a livable climate.
The organization, which has many members that live in the City of Austin and along the
I-35 corridor, works towards protecting places where nature can thrive and offer families
great opportunities to live healthier. Its members frequently enjoy the natural,
environmental, and aesthetic value of the parks, wildlife areas, and open spaces within
the Project area, which will be harmed by the Project’s expansion.
       20.     Plaintiff Friends of Austin Neighborhoods is a neighborhood association
officially registered with the City of Austin that includes over 500,000 households, many
of which will be directly impacted by the environmental consequences from the
expansion of I-35. Friend of Austin Neighborhoods, which was founded in 2015, consists
of member neighborhood associations representing hundreds of thousands of individual
residents all across Austin. The organization is divided among sectors, including the
following sectors that will be directly impacted by I-35: North Central, North East,
Central, East, South Central, and Far South Central.
       21.     Plaintiff Friends of Hyde Park is a neighborhood association officially
registered with the City of Austin that includes 2,000 households which will be directly
impacted by the environmental consequences from the expansion of I-35. Friends of
Hyde Park is located in West Austin, with boundaries extending to the west of I-35. Its
mission statement includes the promotion of an inclusive and friendly environment and
policies that encourage diversity.




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       22.     Plaintiff Hancock Neighborhood Association (“Hancock NA”) is a
neighborhood association officially registered with the City of Austin. Its boundaries
overlap with I-35, immediately to the west of the highway. Its boundaries are from Duval
Road (west) to I-35 (east) and 45th Street (north) to 32nd Street (south). Its members
frequent businesses and rely on services that will be displaced by the Project, including
Star Café and Escuelita Del Alma.
       23.     Plaintiff Mueller Neighborhood Association is a neighborhood association
officially registered with the City of Austin that includes 8,700 households which will be
directly impacted by the environmental consequences from the expansion of I-35.
Mueller Neighborhood Association is located in East Austin, with boundaries
overlapping I-35 and extending eastward. The Mueller NA encompasses a community
that has specifically dedicated 25% of the total housing units (for-sale and for-rent) to
affordable, income-restricted housing.
       24.     Plaintiff The Parents’ Climate Community is a nonprofit organization
formed in 2019 to engage Austin parents, families, and allies in doable, meaningful
action on climate change. Parents’ Climate Community’s work includes raising
awareness around kids’ public health and rights and how infrastructure projects—like the
I-35 expansion—impact youth, from higher rates of respiratory illness in children living
near major roadways to the physical and emotional tolls of climate inaction.
       25.     Plaintiff People Organized in Defense of Earth and Her Resources
(“PODER”) is a women-led, people of color, grassroots, social justice organization
formed in 1991 to increase the participation of residents of East Austin in decisions
related to the economic development and environmental protection of our communities.
PODER’s mission includes addressing environmental issues as social and economic
justice issues and as basic human rights.
       26.     Plaintiff Save Our Springs Alliance, Inc. (“SOS Alliance”) is a
membership-based association, a Texas nonprofit corporation, and a registered
environmental organization with the City of Austin. On behalf of its members, SOS



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Alliance provides educational outreach and scientific research concerning issues that
affect water quality, water quantity, and other natural resources throughout the Texas Hill
Country, including Austin, Texas. SOS Alliance provides its members a legal voice in
protecting their interests in the use and enjoyment of these natural resources and works to
safeguard their rights to a participatory democracy and fair, open government. SOS
Alliance includes approximately 3,000 members who live within cities and counties
throughout the Texas Hill Country, including Austin. Many SOS members live near or
along the Colorado River, Lady Bird Lake, or otherwise within their watersheds. These
SOS members frequently enjoy the parks, trails, and civic amenities along the shorelines
of these water bodies, and many of these members frequently engage in water-based
activities on Lady Bird Lake and the Colorado River, including kayaking, boating,
canoeing, and paddling.
       27.     Plaintiff Southeast Austin Neighbors and Residents Organized for
Environmental Justice (“SANAR”) is a non-profit corporation based in Austin, Texas,
whose mission is to protect public health, the environment, and the quality of life for the
residents of southeast Travis County. The residents that it supports will be injured by
their enjoyment of parks along the Colorado River, including the Colorado River Park
Wildlife Sanctuary, Guerrero Park, and changes in air and water quality resulting from
the highway’s expansion.
       28.     Plaintiff Sunrise Movement Austin (“Sunrise Movement”) is a nonprofit
organization that works to address issues of environmental justice, especially the impacts
of fossil fuels and climate change on Black, Brown, and working-class communities. Its
members include families that live within the Project area who will be directly harmed by
environmental injustices and environmental harms related to the highway’s expansion.
       29.     Plaintiff Texas Public Information Research Group (“TexPIRG”) is an
organization that works as an advocate for the public interest, speaking out for the public
and addressing issues that affect the public’s health, safety, and wellbeing in Texas.




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TexPIRG has members who live along the I-35 corridor and would be directly impacted
by the environmental harms attributable to the highway’s expansion.

       B.       DEFENDANT
       30.      Defendant Texas Department of Transportation (“TxDOT”) is a state
agency with its principal executive offices at 125 East 11th Street, Austin, TX 78701.
The Surface Transportation Project Delivery Program provides Congressional
authorization to the Secretary of the United States Department of Transportation
(“USDOT”) to assign some of its responsibilities under the National Environmental
Policy Act (“NEPA”) to a state’s transportation authority. See 23 U.S. § 327. TxDOT
assumed such responsibilities of the Secretary for environmental review, consultation,
and other delineated responsibilities pursuant to a memorandum of understanding
(“MOU”) between the United States Federal Highway Administration (“FHWA”) and
TxDOT, effective December 9, 2014.2 This MOU was renewed in 2019 and expires at the
end of 2024.3
       31.      TxDOT is considered a federal agency through its delegation under the
executed MOUs and is directly responsible for the federal activity of environmental
review under NEPA. Because TxDOT assumed the responsibilities of the Secretary of
Transportation for NEPA compliance, TxDOT is subject to the same environmental and
administrative law standards that would apply to federal agencies. See Fath v. Tex. DOT,
924 F.3d 132, 135 n.1 (5th Cir. 2018).




2
  Memorandum of Understanding Between the Federal Highway Administration and the
Texas Department of Transportation Concerning State of Texas’ Participation in the
Project Delivery Program Pursuant to 23 U.S.C. § 327, dated effective December 9, 2014
(the “MOU”), available at: https://ftp.txdot.gov/pub/txdot-info/env/nepa-
assignment/txdot-fhwa-nepa-assignment-mou.pdf.
3
  First Renewed Memorandum of Understanding Between the Federal Highway
Administration and the Texas Department of Transportation Concerning Texas’
Participation in the Project Delivery Program Pursuant to 23 U.S.C. § 327, dated
December 9, 2019 (“First Renewed MOU”), available at: https://ftp.txdot.gov/pub/txdot-
info/env/nepa-assignment/2019-nepa-assignment-mou.pdf.

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                  EXHAUSTION OF ADMINISTRATIVE REMEDIES
       32.       Plaintiffs and/or members of the public submitted comments on the
relevant Project. Among other matters, Plaintiffs commented on issues related to the
Project’s impacts on marginalized communities, air quality, and water. Plaintiffs also
commented on TxDOT’s failure to adequately consider alternatives to the Project.
       33.       Plaintiffs have exhausted administrative remedies.

    LEGAL FRAMEWORK GIVING RISE TO PLAINTIFFS’ CLAIMS FOR
                         RELIEF
       34.       Congress enacted NEPA “to promote efforts which will prevent or
eliminate damage to the environment” and to “stimulate [human] health and welfare.” 42
U.S.C. § 4321. Recognizing the “profound influences” of “industrial expansion” and
other intensive human activity on the natural environment and on human health and
welfare, NEPA requires the federal government to use all practical means to improve and
coordinate federal plans, functions, programs, and resources to “assure for all Americans
safe, healthful, productive, and esthetically and culturally pleasing surroundings.” 42
U.S.C. § 4331.
       35.       NEPA is intended to ensure that all federal agencies consider the
environmental impacts of their actions in their decision-making processes, thereby
making environmental protection part of the mandate of every federal agency. See 40
C.F.R. § 1500.1(a); Calvert Cliffs’ Coordinating Committee v. United States Atomic
Energy Commission, 449 F.2d 1109, 1112 (D.C. Cir. 1971). NEPA fulfills this purpose
by requiring that agencies take a “hard look” at environmental impacts of federal action
before the action occurs and by ensuring that “relevant information will be made
available to the larger audience that may also play a role in both the decisionmaking
process and the implementation of that decision.” Robertson v. Methow Valley Citizens
Council, 490 U.S. 332, 349-50 (1989).
       36.       NEPA requires that the public be allowed to comment on projects that
may have potentially significant impacts on the environment. The public comment period
is “intended to help agencies assess an action’s environmental impact.” Earth Island Inst.


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V. United States Forest Serv., No. 22-16751, 2023 U.S. App. LEXIS 32337, at *23-24
(9th Cir. 2023). Although an agency is not required to repeat the public comment process
when the analysis “is only slightly modified” following the publishing of a draft, “an
agency is required to repeat the public comment process when the EA includes
substantial changes relevant to environmental concerns.” Id. (citing Mid States Coal. For
Progress v. Surface Transp. Bd., 345 F.3d 520, 548 (8th Cir. 2003).
       37.     NEPA and the regulations promulgated thereunder by the Council on
Environmental Quality4 require preparation of a detailed statement, referred to as an
Environmental Impact Statement (“EIS”), for all “major Federal actions significantly
affecting the quality of the human environment.” 40 C.F.R. § 1502.3; 42 U.S.C. §
4332(c). The EIS must provide a full and fair discussion of (1) the “environmental impact
of the proposed action,” (2) any “adverse environmental effects which cannot be avoided
should the proposal be implemented,” (3) any “alternatives to the proposed action,” and
(4) any “irreversible or irretrievable commitment of resources which would be involved
in the proposed action should it be implemented.” 42 U.S.C. § 4332; see also 40 C.F.R.
§ 1502.1.
       38.     “Consideration of alternatives ‘is the heart of the [EIS]’ and agencies
should ‘rigorously explore and objectively evaluate all reasonable alternatives.’” City of
L.A. v. FAA, 63 F.4th 835, 843 (9th Cir. 2023), quoting 40 C.F.R. § 1502.14. An EIS is
rendered inadequate by the existence of a viable but unexamined alternative. See Nw.
Coal. for Alts. to Pesticides (NCAP) v. Lyng, 844 F.2d 588, 591-92 (9th Cir. 1988).

4
  In 2020, the Trump administration promulgated changes to the original regulations. See
85 C.F.R. § 43304 (July 16, 2020). In 2022, the Biden administration issued a “phase 1”
restoration of some of the original rules “to enhance clarity on NEPA implementation, to
better effectuate NEPA’s statutory requirements and purposes, to ensure that Federal
decisions are guided by science, to better protect and enhance the quality of the human
environment, and to provide full and fair processes that inform the public about the
environmental effects of government actions and enable public participation.” 86 C.F.R.
55757, 55759. Additional rule change is ongoing. See id. Additionally, the Fiscal
Responsibility Act of 2023 (FRA, Public Law 118-5), enacted on June 3, 2023, codifies
some original CEQ regulatory provisions. The U.S. Department of Transportation’s
regulations pertaining to NEPA are found at 23 C.F.R. Part 771.

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       39.     The purpose of the requirement to consider alternatives is “to insist that no
major federal project should be undertaken without intense consideration of other more
ecologically sound courses of action, including shelving the entire project, or of
accomplishing the same result by entirely different means.” Environmental Defense Fund
v. Corps of Engineers, 492 F.2d 1123, 1135 (5th Cir. 1974).
       40.     “No decision is more important than delimiting what these ‘reasonable
alternatives’ are [since] [o]ne obvious way for an agency to slip past the strictures of
NEPA is to contrive a purpose so slender as to define competing ‘reasonable alternatives’
out of consideration (and even out of existence).” Simmons v. United States Army Corps
of Engineers, 120 F.3d 664, 666 (7th Cir. 1997).
       41.     Where an alternative is eliminated for detailed examination, the EIS must
discuss the reasons for elimination. See City of L.A., 63 F.4th at 843.
       42.     An agency violates NEPA when it considers “essentially identical”
alternatives. See Friends of Yosemite Valley v. Kempthorne, 520 F.3d 1024, 1039 (9th
Cir. 2008); W. Org. of Res. Councils v. United States BLM, No. CV 16-21-GF-BMM,
2018 U.S. Dist. LEXIS 49635, at *20-22 (D. Mont. Mar. 26, 2018).
       43.     The existence of a viable but unexamined alternative renders the
environmental review conducted under NEPA inadequate. See Envtl. Def. Ctr. v. Bureau
of Ocean Energy Mgmt., 36 F.4th 850, 877 (9th Cir. 2022).
       44.     In preparing an EIS, agencies must consider environmental justice (“EJ”)
issues, which “encompass a broad range of impacts covered by NEPA, including impacts
on the natural or physical environment and interrelated social, cultural and economic
effects.” Council on Environmental Quality, Environmental Justice- Guidance Under the
National Environmental Policy Act (Dec. 10, 1997).
       45.     A supplemental EIS is required when “[t]here are significant new
circumstances or information relevant to environmental concerns and bearing on the
proposed action or its impacts.” 40 C.F.R. § 1502.9(d).




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       46.     NEPA’s “hard look” requirement requires that an agency’s consideration
of EJ issues not be done in a cursory or unreasonable manner. See Coliseum Square Ass’n
v. Jackson, 465 F.3d 215, 232 (5th Cir. 2006); Trenton Threatened Skies, Inc. v. FAA,
2024 U.S. App. LEXIS 194 at *27 (3rd Cir. 2024); Vecinos para el Bienestar de la
Comunidad Costera v. FERC, 6 F.4th 1321, 1330 (D.C. Cir. 2021); Sierra Club v. FERC,
867 F.3d 1357, 1368-69 (D.C. Cir. 2017); Cmtys. Against Runway Expansion, Inc. v.
FAA, 355 F.3d 678, 689 (D.C. Cir. 2004); NAACP Erie Unit 2262 v. FHA, 648 F.Supp.
3d 576, 591 (W.D. Pa. 2022).
       47.     Claimed violations of NEPA are reviewed under the Administrative
Procedure Act, 5 U.S.C. §§ 701-706 (“APA”). The APA confers a right of judicial review
on any person that is adversely affected by agency action. See 5 U.S.C. § 702. Under the
APA, a reviewing court must “compel agency action unlawfully withheld or
unreasonably delayed.” 5 U.S.C. § 706(2). Further, a reviewing court must “hold
unlawful and set aside agency action, findings, and conclusions” found to be “arbitrary,
capricious, an abuse of discretion, or otherwise not in accordance with law;” “contrary to
constitutional right, power, privilege, or immunity;” or “unsupported by substantial
evidence” in the record, as well as those found to be “without observance of procedure
required by law.” 5 U.S.C. § 706(2).

                                         FACTS
       48.     On August 18, 2023, the TxDOT issued its FEIS/ROD for the Project.
       49.     Despite concerns raised by over 75% of the 6,000+ public comments
received, including leaders at the City of Austin and Travis County, TxDOT has decided
to expand I-35 for approximately eight miles from US 290 East through downtown
Austin across Lady Bird Lake to SH 71/Ben White Boulevard.
       50.     The ROD adopted “modified” alternative 3. The I-35 expansion will
include the addition of four non-tolled high occupancy-vehicle (“HOV”) lanes, as well as
new frontage roads and ramps. At its widest, I-35 will be 25 lanes across, and the
expansion more than doubles this section of the interstate’s total number of lane miles



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from 115 to 262. The Project also requires approximately 54.1 acres of additional right-
of-way, resulting in the displacement of residences and business in areas with
environmental justice concerns.
       51.     Despite modifying the Project and expanding the project area by 1.2 miles
after public notification and the close of time for public comment, TxDOT did not
provide the public an opportunity to comment on any of the modifications as part of the
NEPA process.

       A.      IMPACTS ON MARGINALIZED COMMUNITIES
       52.     It is widely recognized and accepted that the Interstate Highway System
has caused devastating and disparate impacts to marginalized communities, especially
poor and minority communities. The siting and construction of highways has too often
cut the heart and soul out of thriving communities, divided people, and contributed to
widespread social, health, and economic inequities.
       53.     For over sixty years, I-35 has cut a line through Austin, with similar
disproportionately negative impacts on marginalized communities. In many respects, I-35
remains as a prominent ode to the blatant racism and systemic segregation that created
the Austin we know today. Decades of discrimination, caused and reinforced by the
construction of I-35, will be again reinforced and exacerbated by the widening of I-35, as
envisioned by the approved Project.
       54.     Austin has a long history of structural racism which has had substantial,
long-term effects for people of color in the city. In 1928, the City of Austin approved a
comprehensive plan called “A City Plan for Austin, Texas” (the “1928 Plan”).5 This 1928
Plan was used to intentionally discriminate against communities of color, establishing a
“Negro District,” where “all the facilities and conveniences be provided the negroes in
this district, as an incentive to draw the negro population to this area.”6 This “Negro
District” included neighborhoods in central East Austin, such as Chestnut and Rosewood.

5
  See Austin City Council Regular Meeting Minutes (Mar. 22, 1928), available at
https://services.austin texas.gov/edims/document.cfm?id=89795.
6
  See id. at p. 377.

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       55.      Former Council Member Ora Houston, the first council member to
represent Austin’s only Black opportunity district (District 1), which overlaps many parts
of the racist and discriminatory “Negro District,” explained, the 1928 Plan was designed
by the Austin City Council to provide “land for the growing city center and a city without
minorities.”7
       56.      In the 1930s, the entirety of the “Negro District” was “redlined,” so its
minority population was denied access to government-backed mortgages. As a result
African Americans and Hispanics were not able to access housing and benefit from the
increased wealth that comes with home ownership. Deed restrictions and covenants
resulted in further segregation.
       57.      When these methods of intentional discrimination were ruled
unconstitutional in decisions like Shelley v. Kraemer, 334 U.S. 1 (1948), the nation’s
interstate system was built to install physical barriers, intentionally segregating Black,
Latino and other communities of color.
       58.      Two years after Shelly, the City of Austin created plans to designate East
Avenue as a regional highway. East Avenue was the boundary separating Black residents
to the east of Austin.
       59.      At the time of the 1928 Plan, East Avenue was approximately 200 feet in
width, with a well-landscaped median, similar to other major streets in predominantly
white, West Austin.8 However, unlike those western streets, East Avenue was expanded
into one of the most traveled interstates in the entire nation.
       60.      It is indisputable that the placement of I-35 through Austin physically
isolated the East Austin neighborhoods already subjected to segregation by
discrimination.




7
  Speech Prepared for Ora Houston, “Austin’s ‘1928 Master Plan’ Unleashed Forces
Which Still Shape Austin Today” (2018), available at https://www.austintexas.gov/sites/
default/files/files/City-Council/Houston/CM_OH_ 1928_Op-Ed.pdf.
8
  See Austin City Council Regular Meeting Minutes (Mar. 22, 1928) at p. 365.

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          61.    The construction of I-35 in 1962 predated the scrutiny accompanying the
requirements of the Civil Rights Act enacted two years later. Thus, the negative
consequences to communities of color along the I-35 corridor were not considered and
mitigation of social, economic, and environmental impacts was not done; nor were these
communities given a proper opportunity to have their voices heard in the process.
          62.    The interstate system is facing change as aging highways around the
country are crumbling or found insufficient to meet growing demand. Some communities
are using this opportunity to address the harm caused by urban freeways on marginalized
communities, while others continue to rely on traditional patterns of highway politics and
policy that fail to address income and racial equity. Austin falls into this latter group.
          63.    To address the inequities caused by the Interstate Highway System, many
cities are considering removing and/or re-locating urban highways to create green space,
reduce pollution and noise, and build wealth among residents.9
          64.    Executive Order 12898, Federal Actions to Address Environmental Justice
in Minority Populations and Low-Income Populations, instructs agencies to consider the
environmental justice impacts of their actions. See 59 Fed. Reg. 7629 § 6-609 (1994). EJ
analysis helps decision makers look at the often superficially invisible historical
influences, systemic inequalities, structures, and institutions that interact to create and
maintain inequities for low-income and minority populations. Such analysis should
consider a project’s impact on education, housing, economic development, social
cohesion, and health in affected marginalized communities.10

9
    See fn. 4.
10
  See Deborah Archer, “White Men’s Roads Through Black Men’s Homes”: Advancing
Racial Equity Through Highway Reconstruction, Vanderbilt L. Rev. (V. 73:5/Oct. 2020),
available at https://scholarship. law.vanderbilt.edu/vlr/vol73/iss5/1/; Federal Interagency
Working Group on Environmental Justice & NEPA Committee, Community Guide to
Environmental Justice and NEPA Methods (Mar. 2019), available at https://www.energy.
gov/sites/default/files/2019/05/f63/NEPA%20 Community%20Guide%202019.pdf;
Federal Interagency Working Group on Environmental Justice & NEPA Committee,
Promising Practices for EJ Methodologies I NEPA Reviews (Mar. 2016), available at
https://www.epa.gov/sites/default/files/ 2016-08/documents/nepa_promising_practices_
document _2016.pdf; US EPA, Final Guidance for Consideration of Environmental

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       65.       In evaluating the I-35 Project, the TxDOT’s NEPA analysis ostensibly
included analysis of EJ impacts; but the analysis was bare-boned in nature, failing to
address important health and social consequences, such as the serious health risks
associated with increase in mobile source air toxics. The Project was approved despite
disparate severe negative impacts to marginalized communities.
       66.       The EJ analysis focused on the “Community Study Area,” which
encompasses approximately 40 square miles along I-35. The boundaries of this area
“were chosen to accurately assess the populations that would be directly and indirectly
impacted by the proposed project.” Approximately 58 percent of the population within
the Community Study Area identifies as a racial or ethnic minority, with the vast majority
in East Austin. Approximately 35 percent of the census tracts in the Community Study
Area had at or greater than a 21.8 percent poverty rate, which is twice the poverty rate of
Travis County.
       67.       The FEIS analysis concluded that the Project would disproportionally
impact marginalized communities by displacing homes and businesses in the expanded
corridor. If the displaced businesses did not relocate within the Community Study Area,
approximately 585 jobs will be lost.
       68.       As the City of Austin commented in its response to TxDOT’s initial scoping
for the project, “Multiple expansions of I-35 main lanes and frontage roads throughout the
twentieth century directly displaced communities of color in Austin through the use of
eminent domain.”11 The below aerial, available at the Austin History Center, shows the
destruction that the highway’s construction had on the predominately Latino

Justice in Clean Air Act 309 Reviews (Jul. 1999), available at https://www. epa.gov/
sites/default/files/2014-08/documents/enviro_justice_309review.pdf; Council on
Environmental Quality, Environmental Justice – Guidance Under the National
Environmental Policy Act (Dec. 10, 1997), available at https://www.epa.gov/sites/
default/files/2015-02/documents/ej_guidance_nepa_ceq1297.pdf.
 See City of Austin Comments on I-35 Capital Express Central (Dec. 29, 2020),
11


available at https://www.austintexas.gov/sites/default/files/files/2%20-%20COA%20
Department%20Comments %20for%20I-35%20Central%20Express%20 Scoping%2012-
29-20.pdf


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neighborhoods to the north and south of the Colorado River. The Project continues this
history of displacement.
       69.     The I-35 expansion displaces two federally qualified health care centers
that provide healthcare for people enrolled in Medicaid and who are uninsured, the David
Powell Health Center and the Community Care Hancock Walk-In Clinic. Escuelita Del
Alma, a childcare center serving Spanish-speaking populations and offering Spanish
immersion for children, is also targeted for displacement. Neither the federally qualified
health care centers nor Escuelita Del Alma have mitigation plans to keep these services in
the area.




       70.     The Project also will cause disparate impacts associated with construction
and traffic-related pollutants, vehicle emissions, and dictating development patterns.
Additionally, the local human health impacts of highway air pollution are staggering and



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well documented, including in dozens of studies submitted by commenters through the
NEPA process.
          71.       As correctly noted in the comments of one local resident, “[l]ong-term air
pollution significantly increases the risk of pediatric asthma.”12 The Environmental
Protection Agency has issued concern to federal agencies that extensive evidence
demonstrates that long-term exposure to PM2.5 increases the risk for individuals to
experience health issues, such as respiratory and cardiovascular diseases.13 These risks
are enhanced for populations, like the neighborhoods in East Austin, where asthma rates
are in the 70-90th percentiles nationwide.14 A mother writing in opposition to the I-35
widening further conveyed:

                    I am a mother of 2 young children. My daughter Natalia has
                    asthma. Asthma is a terrible condition to suffer through because
                    EVERY breath you take can be a struggle. It's a horrible
                    experience. I speak from personal experience. I work very hard to
                    try to keep Natalia as healthy as possible. This highway expansion
                    could make her situation worse. I fear for her and I feel heartache
                    knowing how much she is going to struggle with her respiratory
                    health.
          72.       TxDOT simply ignored human health impacts of common motor vehicle
and construction pollutants, including particulates, sulfur dioxide and nitrogen oxide in
its analysis. Its analysis did not look at the EJ implications of the disparate impact of such
pollution on the minority communities in the Community Study Area.
          73.       TxDOT also failed to account for impacts to EJ populations associated
with water-related impacts for the Project, failed to examine disparate impacts related to
marginalized communities use and enjoyment of recreational activities and wildlife



12
  This commenter was citing the American Lung Association at https://www.lung.org/
clean-air/outdoors/who-is-at-risk/highways.
13
  Id.; see also, 88 Fed. Reg. 5558 (Jan. 23, 2023) (proposing standards specifically
recommending that permitting agencies assess impacts to communities with
environmental justice concerns).
14
     Id. at 5673.


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sanctuaries, and failed to analyze the disproportionately negative effects associated with
noise and community disruption due to construction activities.
        74.     Prior to the filing of this petition, a coalition of local residents,
neighborhood associations, civil rights groups, and environmental justice organizations,
submitted and continue to gather signatures for a petition, based upon violations of the
Civil Rights Act of 1964 and pursuant to the APA, requesting that the delegation of
authority for administering compliance with federal laws to TxDOT be withdrawn for
this Project due to the environmental justice and civil rights implications.

        A.      AIR QUALITY IMPACTS
        75.     During the scoping process and following release of the draft
environmental impact statement, the public repeatedly commented that the Project would
increase air pollution, causing significant environmental and health impacts. Following
adoption of the Project, the City of Austin issued a resolution stating that the Project
should not be finalized so as to allow time for government agencies to further address
mobile emissions and greenhouse gas (“GHG”) emissions through city and regional
planning initiatives.15
        76.     In their assessment of whether the Project will adversely affect air quality,
TxDOT failed to properly analyze the Project’s impact on criteria pollutants, air toxics,
volatile organic compounds (“VOC”), and nitrous oxides (“NOx”).

                1.        Criteria Pollutants
        77.     The EPA, acting under authority of the Clean Air Act, has set National
Ambient Air Quality Standards (“NAAQS”) for six criteria pollutants: carbon monoxide
(“CO”), lead, nitrogen dioxide (“NO2”), ozone (“O3”), particulate matter (“PM”), and
sulfur dioxide (“SO2”). Exposure to pollutant concentrations in excess of the NAAQS has
been shown to have a detrimental impact on human health and the environment.

15
  See Austin, Tex. Resolution 202310-045 (October 19, 2023), available at https://
services.austintexas.gov/edims/document.cfm?id= 417815; Travis County,
Commissioners Court-Approved Letter to Texas Department of Transportation (Sept. 26,
2023), available at https://traviscotx.portal.civicclerk.com/event/2832/files/10558.


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       78.     As regards PM, the EPA announced in 2021 that it would be reconsidering
the PM NAAQS.16 In January of 2023, the EPA published a proposal for this
reconsideration, stating that the proposal was intended to strengthen the NAAQS for
PM2.5 by changing the primary (health-based) annual PM2.5 standard from a level of 12
micrograms per cubic meter to a level between 9 and 10 micrograms per cubic meter.17
       79.     This proposal and anticipated change were known to Defendants prior to
issuing the Final Environmental Impact Statement and Record of Decision on the I-35
Capital Express Central Project.18
       80.     Based on recent data, the three-year mean for PM2.5 in Austin exceeds 9
micrograms per cubic meter. This mean measurement does not take into account
anticipated impacts specific to the Capital Express Central Project.
       81.     The fact of Austin PM2.5 exceeding 9 micrograms per cubic meter, as well
as the negative health implications of that, were known to Defendant, but not examined in
the context of this Project.
       82.     The EPA’s proposed change to the PM2.5 standard was designed to better
protect communities, including those most overburdened by pollution. PM2.5 can
penetrate deep into the lungs and result in serious health effects that include asthma
attacks, heart attacks, and premature death – disproportionately affecting vulnerable

16
  See U.S. EPA, EPA to Reexamine Health Standards for Harmful Soot that Previous
Administration Left Unchanged (June 10, 2021), available at https://www.epa.gov/
newsreleases/epa-reexamine-health-standards-harmful-soot-previous-administration-left-
unchanged.
17
  88 FR 558; U.S. EPA, EPA Proposes to Strengthen Air Quality Standards to Protect
the Public from Harmful Effects of Soot (January 6, 2023), available at
https://www.epa.gov/ newsreleases/epa-proposes-strengthen-air-quality-standards-
protect-public-harmful-effects-soot; U.S. EPA, Proposed Decision for the
Reconsideration of the National Ambient Air Quality Standards for Particulate Matter
(last updated February 3, 2023), available at https://www.epa.gov/pm-
pollution/proposed-decision-reconsideration-national-ambient-air-quality-standards-
particulate#:~:text=On%20January%206%2C %20%202023%.
18
  City of Austin Environmental Commission, Austin and the EPA’s PM2.5 NAAQS (June
7, 2023), available at chrome-extension://efaidnbmnnnibpcajpcglclefindmkaj/
https://services.austintexas.gov/edims/document. cfm?id=409664.


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populations including children, older adults, those with heart or lung conditions, as well
as communities of color and low-income communities throughout the United States.
These particles may be emitted directly from a source, such as construction sites or
unpaved roads; others result from friction of tires and brakes on the road; other particles
form in the atmosphere as a result of complex reactions of chemicals such as sulfur
dioxide and nitrogen oxides, which are pollutants emitted from vehicles.
       83.     Subsequent to TxDOT’s issuance of its FEIS/ROD for the Project, the
EPA issued a final rule that revises the NAAQS for PM2.5. See 89 FR 16202. Specifically,
effective May 6, 2024, the primary annual PM2.5 standard19 is lowered from 12.0 µg/m3
to 9.0 µg/m3, with the EPA noting that the 12.0 µg/m3 standard “is not adequate to protect
public health with an adequate margin of safety.” 89 FR at 16203-16204.
       84.     The rule also makes changes to the PM2.5 sub-index of the Air Quality
Index (AQI), 20 conforming AQI breakpoints to address the new primary annual standard.
Also, the daily reporting requirements have changed from 5 days per week to 7 days per
week. See 89 FR at 16205.
       85.     With regard to monitoring-related activities, the EPA has made revisions
to “data calculations and ambient air monitoring requirements for PM to improve the
usefulness and appropriateness of data used in regulatory decision making and to better
characterize air quality in communities that are at increased risk of PM2.5 exposure and
health risk.” 89 FR at 16205.
       86.     The new primary annual standard for PM2.5 was informed by “health
effects evidence” that demonstrates a causal relationship “between PM2.5 exposures and
non-accidental, cardiovascular, or respiratory mortality; cardiovascular or respiratory


19
  Primary standards are defined as ones “the attainment and maintenance of which in the
judgment of the [EPA], based on such [air quality] criteria and allowing an adequate
margin of safety, are requisite to protect the public health.” 42 U.S.C. § 7409(b).
20
  The AQI is EPA’s index for reporting daily air quality. It measures O3, CO, PM, NO2,
and SO2. For PM, the forecast predicts the average 24-hour concentration for the next
day. See https://www.airnow.gov/aqi/aqi-basics/using-air-quality-index/.


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hospitalizations or emergency room visits; and other mortality/morbidity outcomes (e.g.,
lung cancer mortality or incidence, asthma development).” 89 FR at 16203.
       87.     Both the general population as well as specific populations are at risk for
PM2.5-related health effects.
       88.     Children make up a substantial fraction of the U.S. population, and often
have unique factors that contribute to their increased risk of experiencing a health effect
because of their developing respiratory system. Asthma affects a substantial fraction of
the U.S. population and is the leading chronic disease among children. The EPA reported
that evidence demonstrates that PM2.5 exposure can impair lung function growth and is
associated with asthma development. For those with pre-existing asthma, PM2.5 exposure
also is associated with increased bronchitis symptoms. See 89 FR at 16231-16232,
16234-16235.
       89.     The EPA reported that there was strong evidence for racial and ethnic
disparities in PM2.5 exposures and PM2.5-related health risk, particularly among Black and
Hispanic populations. See 89 FR at 16204, 16235.
       90.     In assessing risk associated with both short- and long-term PM2.5
exposures, the EPA noted:

       The primary analyses focus on exposure and risk associated with air quality that
       might occur in an area under air quality conditions that just meet the current and
       potential alternative standards. The risk assessment estimates that the current
       primary PM2.5 standards could allow a substantial number of PM2.5 -associated
       premature deaths in the United States, and that public health improvements would
       be associated with just meeting all of the alternative (more stringent) annual and
       24-hour standard levels modeled. Additionally, the results of the risk assessment
       suggest that for most of the U.S., the annual standard is the controlling standard
       and that revision to that standard has the most potential to reduce PM2.5 exposure-
       related risk.”

89 FR at 16204.
       91.     TxDOT’s analysis of the Project’s impact on air quality addressed
expected CO concentrations, but the analysis failed to address NO2, O3, PM (including
PM2.5 and PM10), or SO2. It failed to address projected non-attainment status for PM2.5.



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       92.     According to the FEIS, “[t]he proposed project is located in an area
designated by the [EPA] in attainment or unclassifiable for all [NAAQS]; therefore
transportation conformity rules do not apply.”
       93.     Transportation conformity rules are mandated by the Clean Air Act – not
NEPA. The fact that an area is currently designated as being in attainment by the EPA
does not excuse the Defendants from NEPA’s mandate to analyze future impacts
associated with criteria pollutants.
       94.     Austin City council members commented that the Project’s air quality
analysis should be “based on projected non-attainment status for particulate matter, and
commit to mitigation that includes treating emissions via caps.”21
       95.     TxDOT’s air quality analysis does not constitute a “hard look” under
NEPA because TxDOT needs to analyze the Project’s impact on all criteria pollutants
(and not just for CO), and TxDOT should have considered the EPA’s proposed change to
the primary (health-based) annual PM2.5 standard, and TxDOT’s analysis of CO
concentrations was methodologically flawed.
       96.     TxDOT failed to account for the higher concentrations of criteria
pollutants that will impact people in the Community Study Area as a result of roadways
necessarily being moved closer to residences and other buildings; failed to address the
accumulation and dispersion of air pollutants as a result of constructing decks over
portions of the roadway; and improperly relied on model CAL3QHC to analyze CO
concentrations.
       97.     The new primary annual standard for PM2.5, which became effective May
6, 2024, constitutes “significant new circumstances or information relevant to
environmental concerns,” and as such, TxDOT should have prepared and circulated a
supplemental EIS; however, TxDOT has not done so. 40 C.F.R. § 1502.9(d).



21
  Austin City Council Members Zo Qadri, Chito Vela and Ryan Alter, Joint Statement on
I-35 Update (July 31, 2023), available at: https://austincouncilforum.org/viewtopic.php?p
=4124&sid=96946e28db7d989562200852bce88a49#p4124.


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        98.      Had Defendant considered PM2.5 impacts in the FEIS, it might have
anticipated effects of the EPA’s new rule. Having elected to not examine PM2.5 effects in
the FEIS, Defendants cannot now rely on that prior report to cover these significant new
circumstances.

                 2.     Air Toxics
        99.      In addition to the six criteria pollutants for which there are NAAQS, EPA
also regulates 188 air toxics defined by the Clean Air Act. Air toxics are pollutants
known or suspected to cause cancer or other serious health or environmental effects.
Mobile Source Air Toxics (“MSATs”) are a subset of these toxics, consisting of 93
compounds emitted from highway vehicles and non-road equipment. The Federal
Highway Administration gives priority to nine MSATs: 1,3-butadiene, acetaldehyde,
acrolein, benzene, diesel particulate matter (“DPM”), ethylbenzene, formaldehyde,
naphthalene, and polycyclic organic matter.
        100.     For the Draft EIS, TxDOT relied on a qualitative analysis to model MSAT
emissions for the nine priority MSATs, concluding that emissions would decrease with
time as a result of EPA’s improved standards for vehicles and fuel regulations.
        101.     TxDOT used a qualitative analysis rather than a quantitative analysis. The
qualitative analysis showed that for the adopted alternative all the MSATs analyzed
would increase by large percentages when compared to the No-Build alternative. Under
NEPA, the analysis should have focused on the difference in MSAT emissions between
the alternatives.
        102.     In August 2023, TxDOT published a study that contained a quantitative
analysis for the nine priority MSATs. This study was not made available for public
comment.
        103.     TxDOT claims that information is incomplete or unavailable to credibly
predict the Project-specific health impacts due to changes in MSAT emissions associated
with the Project, despite the fact that other state agencies have managed to conduct health
risk assessments related to MSAT emissions.



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               3.     VOC and NOx
        104.   Carbon dioxide, VOCs, and NOx are precursors of Ozone. Austin has a
history of violating Ozone standards, and thus, TxDOT’s analysis needed to address not
only Ozone but also VOC and NOx.
        105.   The Project is located in an area designated as being in attainment or
unclassifiable for O3 NAAQS, although TxDOT acknowledges that Ozone is currently
near the nonattainment standard.
        106.   Nevertheless, TxDOT refused to analyze VOC and NOx because the Clean
Air Act’s transportation conformity rules do not presently apply to the Project.
        107.   Transportation conformity rules are mandated by the Clean Air Act – not
NEPA. The fact that an area is currently designated as being in attainment by the EPA
does not mean that an agency can forego NEPA analysis of future impacts associated
with O3.
        108.   As regards carbon dioxide concentrations, the Project will result in more
than 50,000 metric tons of carbon dioxide equivalent per year for the 20-year project
lifecycle.
        109.   Projected vehicle-miles traveled (“VMT”) was the primary factor used to
calculate VOC and NOx emissions. Despite the Project more than doubling existing lane
miles, TxDOT stated VMT will only be increased annually by 1.7%. This modeling was
undoubtedly inaccurate because the underlying assumptions regarding VMT were flawed.
The City of Austin noted that “an increase in lane miles should be expected to
multiplicatively increase VMT.”22

        B.     WATER-RELATED IMPACTS
        110.   The Project is in an urbanized area within the Colorado River watershed.




 See Austin, Tex. Resolution 202310-045 (October 19, 2023), available at
22


https://services.austintexas.gov/edims/document.cfm?id= 417815; Travis County,
Commissioners Court-Approved Letter to Texas Department of Transportation (Sept. 26,
2023) available at https://traviscotx.portal.civicclerk.com/event/2832/files/10558.


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       111.    Many members of the public commented on the significant environmental
impacts of the Project on water and related resources.
       112.    The Project area includes floodplains. The NEPA analysis states that the
Project bisects two 100-year floodplains at Tannehill Branch and at Lady Bird Lake but
does not address the component of the project that reaches into the areas east (downriver)
of Lady Bird Lake.
       113.    In March 2023, after the Draft EIS for the Project was released and after
the February 9, 2023, public hearing for the Project, TxDOT modified the Project to alter
the location of the proposed stormwater outflow. The public was not officially informed
of these changes until the release of the FEIS/ROD on August 18, 2023.
       114.    These modifications moved the stormwater outflow 1.2 miles to the east,
further into environmental justice communities, impacting one of the floodplains and a
free-flowing section of the Colorado River. Through the Project, stormwater will now be
conveyed to a newly constructed stormwater outfall location on the Colorado River via a
tunnel system running from I-35 underneath E. Cesar Chavez Street.
       115.    The new tunnel is designed primarily to benefit stormflow reduction in,
and trash removal from, Waller Creek in the eastern part of Downtown Austin, an area of
extreme wealth. It coincides with years of improvements to Waller Creek that have
benefited downtown property owners, raising land values to the range of over $8 million
per acre.23 While allegedly benefiting the downtown Waller Creek Tunnel, the resulting
change has negative consequences on East Austin water resources, such as Boggy Creek
and the downstream Colorado River.24 The new, unexamined, impacts will be felt in



23
  At 88.4 acres in size, the Waller Creek TIF which includes properties in Downtown
Austin around Waller Creek had a total 2017 taxable value of $779,553,282. This equates
to $8,818,476/acre. Austin, Tex. Amendment #2 to Amendment No. 2 to Final Project
Plan and Reinvestment Zone Financing Plan, available at https://services.austintexas.gov/
edims/document.cfm?id=298792.
24
  Boggy Creek is listed as an impaired waterway that has a continuous surface
connection to the Colorado River. The FEIS notes that base flows “may have a negative
impact on aquatic life within Boggy Creek.”.

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water resources that provide nature access to environmental justice populations, where
the stormwater will be discharged into the Colorado River.
       116.    TxDOT fails to account for or commit stormwater pollutants that will
degrade the Colorado River from the stormwater modification, committing only to
removing total suspended solids (TSS) through the construction of ponds. The
stormwater analysis is replete of discussion of pollutants likely to be discharged into the
Colorado River. It assumes, conclusively, that the removal of TTS, along with blanket
regulatory compliance, is sufficient without taking a hard look at the multitude of other
pollutants that accompany contaminated highway stormwater runoff. The FEIS assumes
“[b]ecause the stormwater will be discharged in compliance with a TCEQ-approved
permit and controlled to the maximum extent practicable, the proposed stormwater outfall
is not expected to have any substantial impact on water quality in the Colorado River.”
For example, TxDOT fails to analyze known highway stormwater pollutant contaminants
such as microparticles and nanoparticles from rubber tires, as well as chemicals that leach
from tires as they break down.
       117.    The new location of the outfall is immediately adjacent to a recently
improved public recreation area and trailhead connected and the Colorado River Park
Wildlife Sanctuary, a rare, low-human-impact nature preserve in an otherwise urban
environment. The trailhead is never considered in the FEIS/ROD, and TxDOT declares
that there is no constructive use of the Wildlife Sanctuary, a determination that TxDOT
has no authority to make without prior consultation and consent of the FHWA.25 TxDOT
self-determined, without FHWA consultation, that Colorado River Park Wildlife
Sanctuary resulted in “no constructive use.”




25
  See First Renewed MOU at §3.2.8 (“TxDOT will not make any determination that an
action constitutes a constructive use of a publicly owned park, public recreation area,
wildlife refuge, waterfowl refuge, or historic site under 49 U.S.C. 303/ 23 U.S.C. 138
(Section 4(f)) without first consulting with FHWA and obtaining FHWA’s approval of
such determination.”).


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        118.       Despite the significant change in the Project location, there was no field
study of this area. The last field delineation work occurred in July 2021, well before the
change in Project area. The new and modified alternative impacts different riparian areas
and has different potential wetlands impacts, but TxDOT did not revise and resubmit for
interagency review the Surface Water Analysis form (CSJ(s): 0015-13-388), originally
completed on December 15, 2022.26
        119.       Neither did TxDOT reconsult with the Texas Parks & Wildlife Services
Department (TPWD).27 TPWD approved the Aquatic Resource Mitigation Plan based
upon the prior location of the outfall, including the relocation area for freshwater
mussels, on August 10, 2022. TPWD last made comments on the Project on February 10,
2023, based upon the DEIS, addressing concerns about impacts and lack of mitigation for
effects to the Colorado River. The record does not reflect further consultation or approval
of a revised Aquatic Resource Mitigation Plan.
        120.       The section of the Colorado River into which the stormwater will be
directed is a pristine stream; it is one of the few areas in an urbanized environment in
Texas with such a characteristic. It is rated for “high water quality,” with “exceptional
aquatic life,” “high aesthetic value,” and “exception aquatic life use.” It is habitat for a
diverse range of species and a potential habitat for the “American eel, Guadalupe bass,
silverband shiner, Texas shiner, caddis fly, and Texas map turtle.” In this stretch of the
river, it is free-flowing, with relatively shallow and slow-moving water, which is ideal for
ecological life.
        121.       The Colorado River is known to be habitat for four mussel species: the
false spike (Fusconaia mitchelli), Texas fatmucket (Lampsilis bracteata), Texas


 The appendix attached to the form was replaced, but the analysis required by the form
26


was never completed or resubmitted for interagency review.
27
  NEPA demands that TxDOT participate in interagency review prior to making a
detailed statement on every component of a project subject to NEPA. See 42 U.S.C.
§ 4332(2)(D). The Texas Administration Code § 2.203 also mandates coordination and
reevaluation after the occurrence of a project modification. See Tex. Admin. Code
§2.203(c).


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pimpleback (Cyclonaias petrina), and Texas fawnsfoot (Truncilla macrodon). The Texas
fatmucket is listed as a threatened species on the USFWS IPaC Official Species List, and
the habitat range for the Texas fatmucket goes well to the east of the project area.28 The
false spike and the Texas pimpleback are both federally proposed endangered species,
and the Texas fawnsfoot is a federally proposed threatened species.
       122.    TxDOT declares that there is no “critical habitat . . . identified within the
project area,” however, the information TxDOT claims to rely upon is vastly outdated.
The last time that a survey was performed for live or shell material in the location of the
new outfall was 13 years ago, in 2011, for an unrelated project. The FEIS, published on
September 1, 2023, asserts that a new survey “will be performed in summer 2023.” The
record has not been supplemented. Surveys by the City of Austin in 2018 found mussels
in the tributaries of the Colorado River downstream of the Longhorn Dam.29
       123.    The Project area also includes extensive populations of bats. The cave
myotis bat occurs under concrete culverts and bridges. The big brown bat, eastern red
bad, hoary bat, and swamp rabbit all potentially occur within the wildlife sanctuary and
areas around the outfall structure along the Colorado River. The FEIS/ROD does not
consider the Project’s impact for these species in the area of the new outfall.
       124.    Immediately downriver from the new outfall location is a unique habitat
for the state-listed, threatened species, the blue sucker (Cycleptus elongatus), a species
that is depleted throughout its natural range. No analysis was conducted by TxDOT on
the Project’s impact for this species, considering only species listed for Travis County
and not downriver communities of species. On May 5, 2023, TxDOT responded to


28
  See also U.S. Fish & Wildlife Services, Interactive Map (showing potential habitat for
the Texas fatmucket), available at https://www.fws.gov/species/texas-fatmucket-
lampsilis-bracteata/map.
29
  Native freshwater mussel distribution in tributaries of the Colorado River downstream
of Longhorn Dam near Austin, Texas, USA, Bianca J. Perez, City of Austin, TX 78704,
Ashley Seagroves Ruppel, U.S. Fish and Wildlife Service, Liz Johnston, City of Austin,
Andrew Clamann, City of Austin, Aaron Richter, Lower Colorado River Authority,
Mateo Scoggins, City of Austin.


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TPWD concerns regarding the Draft EIS but neglected to inform TPWD that it had
changed the Project area. Further, TxDOT did not update any field research or surveys,
did not consider, or disclose any potential impacts to species (including those outside the
arbitrary Travis County boundary), and did not reassess impacts to wetlands.
       125.    Because no fieldwork occurred, only desktop data was used to determine
the presence of wetlands. And, because the Surface Water Analysis Form was not redone,
the reliance by TxDOT to support its findings is arbitrary. City of Austin data
demonstrates the Project is located in an area of the Colorado River that has abundant
wetlands. Further, National Wetlands Inventory (NWI) clearly delineates the area of the
new stormwater tunnel as a wetland. At a minimum, the information readily available on
the U.S. Fish & Wildlife Services Website should indicate the need for additional field
studies of the site, which did not occur and are not included in the FEIS. The area is
identified as a Riverine Wetland, “R2UBH, Riverine, Lower Perennial, Unconsolidated
Bottom, Permanently Flooded.” As a federal agency, TxDOT is mandated to comply with
Executive Order 11990, protecting federal wetlands. 42 Fed. Reg. 26931.

       C.      REASONABLE ALTERNATIVES TO THE PROJECT
       126.    State highway departments across this Nation are responding to the needs
of their cities and restoring communities divided by ill-conceived highways that run
through city centers, yet for the Capital of the State of Texas, TxDOT declined to fully
consider reasonable alternatives put forth by the community through to the final stages of
analysis.
       127.    Defendant only provided detailed review for two, essentially identical,
build alternatives (designated as “Build Alternative 2” and “Modified Build Alternative
3”) in its environmental review, as well as a “No Build Alternative,” which was included
solely “as a baseline for comparison.” The “No Build Alternative” projected unrealistic
traffic increases upon a highway that is considered to be at capacity, with traffic patterns
that do not demonstrate historic growth. The reality is that TxDOT had a predetermined
notion to expand the roadway.



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        128.    Defendant so constrained the alternatives given full consideration that it
was able to label the agency’s overall “preferred alternative”–a substantial widening of a
massive highway cutting through the heart of Austin–as the “environmentally preferred
alternative.”
        129.    Community members and organizations proposed numerous alternatives
to the Project, all of which were either completely ignored or improperly dismissed as
unfeasible.
        130.    The overwhelming sentiment of the community was that I-35 should be
made no wider and no higher, and many community members wanted I-35 to be
removed.
        131.    Community members also proposed a long-desired alternative, suggested
as far back as 2011 in the I-35 Corridor Advisory Committee Plan, to create a true
interstate highway bypass around Austin by removing tolls from State Highway 130 and
reclassifying it as an interstate, to relieve pressure and traffic on the I-35 corridor and to
mitigate the current road’s impacts on Austin’s most disadvantaged neighborhoods.
        132.    Austin is the only major city in Texas that lacks a true interstate bypass.
The trend in recent years has been to use by-passes to avoid funneling traffic through city
centers, resulting in cities that are more livable and avoiding the societal costs of people
having to move further away from their jobs. Without by-passes, people move farther
away, triggering a feedback loop where an increase in traffic occurs, leading to the need
for more roads, leading to livability being degraded further, leading to more people
moving further away.
        133.    Many community members proposed extensive capping of I-35, which
would mean the construction of deck plazas that cover the freeway. Others supported
fully burying I-35 under an urban boulevard. As adopted, the Project allows for the
possibility of select areas (primarily around downtown and the University) being capped,
but these caps are not part of the Project itself.




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       134.    Prior to issuing the draft environmental impact statement for this Project,
TxDOT improperly constrained the range of alternatives given any in depth considered.
TxDOT conducted a perfunctory evaluation of other alternatives, all of which were found
to not be feasible and, thus, to not be reviewed for environmental impacts. The
alternatives considered and eliminated from detailed study in the EIS include: Build
Alternative 1, Build Alternative 3, three community-provided alternatives – those from
Reconnect Austin, Rethink35, and Downtown Austin Alliance (DAA)/Urban Land
Institute (ULI), the Transit Only Alternative, and the Transportation System Management
and Transportation Demand Management alternatives.
       135.    The most detailed community-provided alternative was proposed by
Reconnect Austin. TxDOT described the design as follows:

               The Reconnect Austin concept proposes to depress the highway
               and cover it with a six-lane boulevard throughout the entire section
               from MLK, Jr. Boulevard to Holly Street. This design would
               support a number of strategies designed to humanize the city
               around the corridor. On the surface level, the urban boulevard
               would replace the highway, functioning to reconnect downtown
               with east Austin, which could increase east-west connectivity.
               Moving the boulevard into the middle of the right of way (ROW)
               would provide reclaimed land on the edge of the existing TxDOT
               ROW. The proposal envisions that reclaimed land could allow
               construction of offices, shops, markets, and housing, which, as
               taxable land, would generate revenue. Creating more downtown
               housing could help eliminate the commutes of some of downtown
               Austin’s workers if they could move close to their jobs, and within
               the authority of the City of Austin, some of that housing could be
               built as affordable housing. The design includes flood control,
               noise mitigation, and air-cleaning features. Removing high-speed
               roads from the surface, the proposal aims to bring down the
               number of roadway injuries and fatalities, making walkable new
               districts safer for pedestrians and other vulnerable road users.
This alternative should have been evaluated for environmental impacts under NEPA.
       136.    TxDOT’s 2021 evaluation was flawed in that many of its “conclusions”
were based on comparisons for which data was either not yet available or available only
in a preliminary form; the foundation and methodology for posited traffic volume impacts



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was not disclosed; TxDOT found feasibility to be impeded for Project elements where
uncertainty exists as regards third party funding; TxDOT refused to consider design
elements not directly within their jurisdiction. In addition, the initial evaluation was
narrowly construed and did not include consideration of such factors as economic
development opportunities or effect on historic, systemic patterns of racial/ethnic
inequality.
       137.    NEPA does not require the selection of the environmentally preferred
alternative. Indeed, the drafters of NEPA clearly understood that the majority of NEPA
processes would result in the selection of something other than the environmentally
preferred alternative. Instead, the purpose of the requirement to study a reasonable range
of alternatives through the NEPA process is “to insist that no major federal project
should be undertaken without intense consideration of other more ecologically sound
courses of action, including shelving the entire project, or of accomplishing the same
result by entirely different means.” Environmental Defense Fund v. Corps of
Engineers, 492 F.2d 1123, 1135 (5th Cir. 1974) (emphasis added).
       138.    Both the City of Austin and Travis County, the two local jurisdictions
significantly affected by the Project, have taken formal action requesting changes in
Project scope, additional environmental analysis, and Project modifications to address
historic inequities and the Project’s impact to air and water quality.30 These concerns
were never addressed by TxDOT. TxDOT also received over 6,000 comments (the vast
majority of which opposed or express concerns) throughout the NEPA review process,
but TxDOT gave original responses to less than 0.4% of them.31 This is because TxDOT


30
  Austin, Tex. Resolution 202310-045 (October 19, 2023), available at
https://services.austintexas.gov/edims/document.cfm?id=417815; Travis County,
Commissioners Court-Approved Letter to Texas Department of Transportation, dated
September 26, 2023, available at https://traviscotx.portal.civicclerk.com/event/2832/
files/10558
31
  An analysis of the published comments found that 6,143 total comments were
submitted from 3,421 commenters. TxDOT only directly responded to 49 comments.
Less than 0.4% of comments received a response.


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had a pre-determined outcome to expand I-35. TxDOT has simply never shown any
sincere interest in, let alone intense consideration of alternatives to their planned
highways designs in the Austin area, despite repeated and sustained efforts by citizens of
Austin to put forward comprehensive proposals for alternative designs that mirror
successful efforts at improving quality of life implemented across the United States in
recent decades.

                                  CLAIMS FOR RELIEF

                      CLAIM I – NEPA and APA 5 U.S.C. § 706(2)
       139.     Plaintiffs re-allege and incorporate by reference the preceding paragraphs
into the claim set forth below.
       140.     In failing to consider a reasonable range of alternatives; failing to
adequately document, analyze and consider substantial environmental harms pertaining to
environmental justice, air quality, human health, water and related resources, and other
aspects of the human and natural environment; and failing to adequately provide for
public opportunity for comment, particularly pertaining to the changed location for the
pollutant-laden stormwater outfall, Defendant has acted in a manner that is arbitrary and
capricious and otherwise not in accordance with law in violation of the Administrative
Procedure Act, 5 U.S.C. § 706(2) and the National Environmental Policy Act 42 U.S.C.
§4321 et seq.

                     CLAIM II – NEPA and APA 5 U.S.C. § 706(1)
       141.     Plaintiffs re-allege and incorporate by reference the preceding paragraphs
into the claim set forth below.
       142.     TxDOT’s refusal to prepare a supplemental EIS in light of the new
primary annual NAAQS for PM2.5 constitutes action unlawfully withheld or action
unreasonably delayed in violation of the Administrative Procedure Act 5 U.S.C. § 706(1)
and 40 C.F.R. § 1502.9(d).




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                                   PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs prays for relief as follows:
 1.     For a declaratory judgment that Defendant’s decision to widen I-35 is arbitrary,
        capricious, and otherwise not in accordance with law in violation of the
        Administrative Procedure Act and the National Environmental Policy Act;
 2.     For an order setting aside the decision to widen I-35 announced by Defendant
        Texas Department of Transportation by Record of Decision dated August 18,
        2023, and accepted by federal Defendants by Federal Register Notice dated Sept.
        1, 2023. 88 FR 60530 (Sept. 1, 2023).
 3.     For a declaratory judgment that Defendant’s decision not to prepare a
        supplemental EIS constitutes action unlawfully withheld or action unreasonably
        delayed.
 4.     For an order compelling Defendant to supplement the FEIS to address the air
        pollution impacts of the Project.
 5.     For an order enjoining all Defendants from undertaking any activities in
        furtherance of the widening of I-35, including acquisition of properties and
        construction activities;
 6.     For the Court to retain continuing jurisdiction to review Defendants’ compliance
        with all judgments and orders entered herein;
 7.     For an award of Plaintiffs’ costs of litigation, including reasonable attorney’s fees;
        and
 8.     For such other and further relief as the Court may deem just and proper to
        effectuate a complete resolution of the legal disputes between Plaintiffs and
        Defendants.

DATED:                                                Respectfully Submitted,

                                                      /s/ Robert Levinski
                                                      Robert J. Levinski
                                                      State Bar No. 24097993


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